                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE:

HALLIE MARTENSON,                                     : BANKRUPTCY NO. 22-11840-mdc
               Debtor
                                                      : CHAPTER 13

                                                      : L.B.R. 9014-3
PENNSYLVANIA HOUSING FINANCE
AGENCY
               Movant                                 : HEARING:        JUNE 20, 2023
                                                                        AT 10:30 A.M.
         VS.                                                            Telephonic hearing

HALLIE MARTENSON and
KENNETH E. WEST, Trustee
                 Respondents

                MOTION OF PENNSYLVANIA HOUSING FINANCE AGENCY FOR
                     RELIEF FROM THE AUTOMATIC STAY TO PERMIT
               PENNSYLVANIA HOUSING FINANCE AGENCY TO FORECLOSE ON
                   606 FERNON STREET, PHILADELPHIA, PENNSYLVANIA


TO THE HONORABLE MAGDELINE D. COLEMAN, CHIEF U. S. BANKRUPTCY JUDGE:

         AND NOW comes Pennsylvania Housing Finance Agency, by its attorneys, Purcell,
Krug & Haller, and files this Motion to obtain relief from the automatic stay pursuant to Section
362(d) of the Bankruptcy Code as follows:
 1.     That this is a contested matter under Rule 9014 brought pursuant to 11 USC Section
362(d).

 2.     Movant, Pennsylvania Housing Finance Agency, is a company with an office located at
211 North Front Street, Harrisburg, Pennsylvania 17101.

 3.    Respondent, Hallie Martenson, is an adult individual whose last known address is 606
Femon Street, Philadelphia, PA 19148.

 4.      Respondent, Kenneth E. West, is the Trustee duly appointed in the above case with a
place of business at Suite 1813, 1234 Market Street, Philadelphia, Pennsylvania 19107.

 5.      On or about June 27, 2016, Debtor executed and delivered a Mortgage Note in the sum
of $134,518.00 payable to Mortgage America, Inc., a copy of said Mortgage Note being attached
hereto and made a part hereof as Exhibit "A".
   6. Contemporaneously with and at the time of the execution of the aforesaid Mortgage Note,
in order to secure payment of the same, the Debtor made, executed, and delivered to original
Mortgagee, a certain real estate Mortgage which is recorded in the Recorder of Deeds Office of
the within County and Commonwealth on July 27, 2016 as Instrument No. 53090808 conveying
to original Mortgagee the subject premises. The Mortgage was subsequently assigned to
PENNSYLVANIA HOUSING FINANCE AGENCY by Assignment of Mortgage dated July 21,
2016 and was recorded in the aforesaid County. The said Mortgage and Assignment are
incorporated herein by reference.

 7. The land subject to the Mortgage is known and numbered as 606 Fernon Street,
Philadelphia, PA 19148.

 8.      The balance owed Movant is approximately $135,000.00.

 9.      Other liens against the property (per Debtor's Schedules) are:

         Pennsylvania Housing Finance Agency — 2nd Mortgage in the amount of $2,998.00

 10.     The value of the real estate is approximately $229,400.00 (per Debtor's Schedules).

 11.    Debtor has failed to make four (4) post-petition mortgage payments to Movant in the
amount of $953.59 each, with $948.96 in Debtor Suspense, for a total of $2,865.40.

 12.     Movant is entitled to relief for cause.

          WHEREFORE, Movant prays for the entry of an Order terminating the automatic stay
and granting Movant leave to exercise its State Court foreclosure rights and that such further
relief be granted as your Honorable Court deems fair and equitable.

                                                      PURCELL, KRUG & HALLER


                                                      By:/s/Leon P. Haller
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Dated: May 30, 2023                                    thallergpk.h.com
